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 UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------- X
                                                           :                       1/11/2021
SPIN MASTER, INC. AND SPIN MASTER :
LTD.,                                                      :
                                                           :
                                        Plaintiffs,        :          17-cv-5845 (VSB)
                                                           :
                      -against-                            :              ORDER
                                                           :
AMY & BENTON TOYS AND GIFTS CO., :
LTD, et al.                                                :
                                                           :
                                        Defendants. :
                                                           :
---------------------------------------------------------- X

 VERNON S. BRODERICK, United States District Judge:

          On December 9, 2020, I ordered Plaintiffs to submit a proposed judgment on or before

 January 7, 2021, detailing the outstanding obligations of each remaining Individual Defendant in

 this case. (Doc. 76.) On January 8, 2021, Plaintiffs filed a proposed judgment. (Doc. 77.)

 Contrary to my previous order, this proposed judgment does not detail each Defendant’s

 remaining outstanding obligations. For example, the proposed judgment does not acknowledge

 that Plaintiffs have received partial payment from several Individual Defendants, (Doc. 68), and

 have received full satisfaction of judgment from at least one Defendant, (Doc. 75.) Accordingly,

 it is hereby:

          ORDERED that Plaintiffs shall file a revised proposed judgment on or before January 29,

 2021, that indicates the outstanding obligations of each Individual Defendant based on how

 much each Defendant has paid out of its $50,000 obligation. The proposed judgment should also

 indicate which Defendants have satisfied their obligation in full.

 SO ORDERED.
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Dated: January 11, 2021
       New York, New York

                                         ______________________
                                         Vernon S. Broderick
                                         United States District Judge
